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From:                 Courtney Conover <daisy1080@msn.com>
Sent:                 Monday, April 4, 2022 8:31 PM
To:                   PAED Documents; Brian Dixon; Kolman Law Client Care
Subject:              Request for information and more
Attachments:          Screenshot_20220404-195514~3.png; Screenshot_20220404-195524~2.png; Screenshot_
                      20220404-195553~3.png



CAUTION - EXTERNAL:


I was under the impression screenshots were admissible evidence in civil proceedings (not criminal, however), as proof
that information did not come from me. Opposing counsel keeps insinuating I do not have this information, even though
much of it has date and time stamps as they came directly from a Facebook messenger download. If that is the method
with which I learned the information in the first place, that should also be considered evidence.

I understand the unhappiness at not being given the name of the current employee of his, but as shown, this employee
is afraid for their safety, their own words. I do not wish to put this person in danger, however, I AM willing to show the
unedited conversation with the name and everything else SOLELY to the court and NOT the Plaintiff or opposing counsel
for obvious reasons

I would also like to point out that I made it incredibly clear that I would be attending my son's birthday regardless of my
health and would not be getting inpatient medical treatment until the following day. Adding my post that I went to
dinner with my son is not the gotcha the opposing counsel apparently thinks it is when I already said this to both him
and the court repeatedly.

I would also like to bring up that counsel is spending an inordinate amount of time searching my Facebook and making
false assumptions without any evidence about to whom I'm referring. Perhaps counsel should focus more on the only
evidence he has (as clearly Brianna Kube is not willing to testify FOR his client, making everything she has said still
damning ‐ and yes, I'll subpoena her if it gets that far. Frankly, I feel this has been nothing but a character assassination
because a man is upset people are talking about things he doesn't want them to mention.)

I have asked one of my physicians for a letter. He has said he doesn't do that. He said i could use our communication
that week, however, I refuse as those are personal and detailed. I will say that my diagnoses include: Degenerative Disc
Disease, in all three sections of the spinal cord, leading to stenosis, scoliosis, permanent nerve damage through the legs
and feet, as well as myofascial muscular pain from old scar tissue. Adding insult to injury are also my autoimmune
disorders which are not quite controlled ‐ Hashimotos Thyroiditis and Raynaud's Disease. C‐PTSD, panic disorder, and
ADHD round out the medical history. You will receive no more information about it. I'm sick of this attorney taking
everything and spinning it to try to paint me as the issue. He's spending all his time on character assassination that keeps
failing because he keeps picking ridiculous things to try to "get" me on. Especially that horrific nonsense where he
insinuated the biological father who didn't even raise me dying meant I was lying about him speaking to my father, the
man I was referring to had raised me from the age of 2 and is still very much alive and still married to my mother. I'm
sick to death of opposing counsel's games.
If his entire purpose of this deposition is to accuse me of a whole bunch of things i didn't do, I want zero part of it. He
has verbally assaulted me far more than enough.

I changed the blog to fit the specifications that the attorney originally claimed made it a case to begin with. I formally
request a motion to dismiss this frivolous case. He cannot get anything from a person with no job and on federal
disability. He needs to grow up.
                                                               1
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Adding a few more screenshots from Former employee, Mark Harris, on Instagram, who backed up the claims of the
current cast member by saying the claims are true.


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CAUTION - EXTERNAL EMAIL: This email originated outside the Judiciary. Exercise caution when opening
attachments or clicking on links.




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